742 F.2d 509
    117 L.R.R.M. (BNA) 2305
    Benjamin R. BURROUGHS, on Behalf of OPERATING ENGINEERSLOCAL UNION NO. 3, Plaintiff-Appellant,v.Dale MARR, Harold Huston, James R. Ivy, Harold K. Lewis,Donald R. Strate, and Dennis Wright, Defendants-Appellees.
    No. 82-4650.
    United States Court of Appeals,Ninth Circuit.
    Sept. 6, 1984.
    
      1
      Michael Friedman, Siegel, Friedman &amp; Dickstein, Oakland, Cal., for plaintiff-appellant.
    
    
      2
      John J. Davis, McCarthy, Johnson &amp; Miller, Kimball S. Atwood, Cooley, Godward, Castro, Huddleson, San Francisco, Cal., for defendants-appellees.
    
    ORDER
    
      3
      Appeal from the United States District Court for the Northern District of California.
    
    
      4
      Before:  KENNEDY and BOOCHEVER, Circuit Judges, and EAST,* District Judge.
    
    
      5
      The petition for rehearing is granted.  The court's order of July 5, 1984, 736 F.2d 1341, is withdrawn.  The opinion filed December 15, 1983 is withdrawn.  The district court's opinion, Burroughs v. Marr, 559 F.Supp. 141 (N.D.Cal.1982), is vacated, and this case is remanded to the district court with instructions to dismiss the action as moot.
    
    
      
        *
         Honorable William G. East, Senior United States District Judge for the District of Oregon, sitting by designation
      
    
    